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                             **NOT FOR PRINTED PUBLICATION**


                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION


JAMES HALL                                        §

VS.                                               §        CIVIL ACTION NO. 9:21-CV-208

TEXAS DEP’T OF CRIMINAL JUSTICE,                  §
ET AL.

                            ORDER ACCEPTING THE MAGISTRATE
                          JUDGE’S REPORT AND RECOMMENDATION

           Plaintiff James Hall, a prisoner confined at the Eastham Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983.

           The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court.

The Magistrate Judge has submitted a Report and Recommendation of United States Magistrate

Judge. The Magistrate Judge recommends dismissing the action without prejudice for want of

prosecution.

           The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. No

objections to the Report and Recommendation of United States Magistrate Judge were filed by the

parties.
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                                              ORDER

       The findings of fact and conclusions of law of the Magistrate Judge are correct, and the report

of the Magistrate Judge (docket entry #14) is ACCEPTED. A final judgment will be entered in this

case in accordance with the Magistrate Judge’s recommendation.

        SIGNED this the 10 day of November, 2021.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




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